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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

SCANNING TECHNOLOGIES §
INNOVATIONS LLU, §
Plaintiff, : Case No: 2:21-cv-00853-SDM-CMV
vs. : PATENT CASE
EVENTZILLA CORPORATION, :
Defendant.

JOINT STIPULATION AND ORDER OF DISMISSAL
Plaintiff Scanning Technologies Innovations, LLC and Defendant Eventzilla

Corporation, by their respective undersigned counsel, hereby STIPULATE and AGREE as

follows:

1. All claims asserted by the Plaintiff in this Action are dismissed with prejudice and all
claims asserted by the Defendant in this Action are dismissed without prejudice under Fed. R.
Civ. P. 41(a)(1)(A)(ii);

2. Each party shall bear its own costs and attorneys’ fees with respect to the matters
dismissed hereby;

This Stipulation and Order shall finally resolve the Action between the parties.

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Dated: April 15, 2021 Respectfully Submitted,
SAND, SEBOLT & WERNOW CO., LPA

isi Howard L. Wernow

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SO ORDERED this (day of Boul 2021.

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UNITED STATES DISTRICT JUDGE

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